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                       UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                           DEC 8 2020
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
BILLY STEFFEY,                                     No.    20-35493

                   Petitioner-Appellant,           D.C. No. 3:19-cv-00093-JR
                                                   District of Oregon,
 v.                                                Portland

J. SALAZAR, Warden,                                ORDER

                   Respondent-Appellee.

         Appellant’s unopposed motion for voluntary dismissal of this appeal

(Docket Entry No. 16) is granted. This appeal is dismissed. See Fed. R. App. P.

42(b).

         This order served on the district court acts as the mandate of this court.




                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT


                                                    By: Megan Howard
                                                    Deputy Clerk
                                                    Ninth Circuit Rule 27-7
